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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


 MICHELE JOHNSON,                              )
                                               )
                 Plaintiff,                    )
                                               )
          vs.                                  )       Case No. 1:13-cv-01454-TWP-MJD
                                               )
 HEART HOUSE, INC,                             )
                                               )
                 Defendant.                    )


                          ORDER OF DISMISSAL WITH PREJUDICE

          This cause comes before the Court on the Stipulation of Dismissal with Prejudice filed by

 the parties. The Court, having reviewed said Stipulation and being duly advised in the premises,

 now orders a dismissal of this matter in its entirety with prejudice, with each party to bear its own

 costs.

                 01/13/2015
 Date:




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